                   IN THE UNITED STATES DISTRICT COURT

              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                 :
                                         :
              v.                         :      1:17CR460-1
                                         :
PAULA KAY BULLOCK                        :      Filed Under Seal


   GOVERNMENT’S MOTION TO AMEND CONDITIONS OF RELEASE

      NOW COMES the United States of America, by and through Matthew

G.T. Martin, United States Attorney for the Middle District of North Carolina,

pursuant to 18 U.S.C. § 3145 and moves to amend the defendant’s conditions

of release.

      1.       On December 18, 2017, the federal grand jury sitting in

Greensboro, North Carolina, returned a two-count indictment against

defendant Bullock charging her with access device fraud in violation of 18

U.S.C. § 1029(a)(2) and aggravated identity theft in violation of 18 U.S.C. §

1028A(a)(1). (Indictment, Dkt. #1).

      2.       The defendant was arrested on December 19, 2017 and brought

before the Hon. Joe L. Webster for initial appearance/release hearing on

December 20, 2017. (Arrest of Paula Bullock, Dkt. Entry Dated 12/20/2017

and Dkt. # 8). The defendant’s residence at this time was located at 1737 Allen

Jarrett Drive, Mebane, North Carolina in the Middle District of North




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Carolina. The defendant was released on her own supervision on the following

conditions among others:

              a.    The defendant must not violate federal, state, or local law

while on release.

              b.    The defendant must advise the court or the pretrial services

office or supervising officer in writing before making any change of residence

or telephone number.

              c.    Travel is restricted to the Middle District of North Carolina

unless prior approval given by pretrial services. (Order Setting Conditions of

Release, Dkt. # 6).

      3.      On March 20, 2018, the defendant filed a motion to modify her

conditions of release so she could travel out of the country. (Defendant’s

Motion to Modify Conditions of Release, Dkt. #17). After receiving the motion,

Special Assistant United States Attorney K. P. Kennedy Gates contacted the

United States Probation Office (“USPO”) to determine what its position would

be.   The USPO indicated it did not have a position because it was not

supervising the defendant and could not report how she was doing on pretrial

release. The USPO indicated that Bullock did have permission to travel to

Colorado as she had a pending court case there and her son lived there. The

USPO indicated that Bullock emailed the USPO when she went to Colorado.

The Government filed a motion objecting to the modification. (Government’s

Response to Motion to Modify Conditions of Release, Dkt. #19).
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      4.      The pending court case in Colorado is for obtaining controlled

substance by fraud. (See, Colorado Case report, attached hereto as Ex. A).

      5.      On March 27, 2018, the federal grand jury sitting in Greensboro,

North Carolina, returned a six-count superseding indictment against

defendant Bullock charging her with two counts of wire fraud in violation of 18

U.S.C. § 1343, one count of access device fraud in violation of 18 U.S.C. §

1029(a)(2) and three counts of aggravated identity theft in violation of 18

U.S.C. § 1028A(a)(1). (Superseding Indictment, Dkt. # 20).

      6.      Between the end of March 2018 and April 2018, Special Assistant

K. P. Kennedy Gates became aware that the defendant had an outstanding

warrant for arrest for a county ordinance violation in Durham County. (See

attached warrant for arrest in Durham County District Court case 18CR51946

attached hereto as Ex. B). During a discussion with counsel for the defendant,

the Special Assistant made counsel for the defendant aware of the outstanding

process and indicated that the Government would not be moving to revoke

defendant’s conditions of release based on this, but that defendant needed to

take care of the outstanding process.

      7.      On June 26, 2018, the federal grand jury sitting in Greensboro

returned a 21-count superseding indictment charging her with seven counts of

wire fraud in violation of 18 U.S.C. § 1343, two counts of access device fraud in

violation of 18 U.S.C. § 1029(a)(2), four counts of obtaining a controlled

substance by fraud in violation of 21 U.S.C. § 843(a)(3), and eight counts of
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aggravated identity theft in violation of 18 U.S.C. § 1028A(a)(1). (Second

Superseding Indictment, Dkt. # 26).

      8.      On August 2, 2018, an attorney with the North Carolina

Veterinary Board contacted the United States Attorney’s Office and indicated

that he was trying to serve the defendant with unrelated civil process by both

FedEx and through the sheriff’s department. He indicated that a woman at

defendant’s address at 1737 Allen Jarrett Drive, Mebane, North Carolina

signed for the process. The woman who signed for the process called the North

Carolina Veterinary Board attorney and indicated she had been living at the

address on Allen Jarrett Drive in Mebane, North Carolina for eleven months

and had never heard of Bullock. After numerous attempts, the Alamance

County Sheriff’s Office was also unsuccessful at serving or locating Bullock at

the Mebane, North Carolina address.

      9.      On August 6, 2018, Assistant United States Attorney Frank Chut

and Special Assistant United States Attorney K. P. Kennedy Gates met with

counsel for the defendant to discuss the above captioned case. During the

meeting, counsel for the Government discussed the outstanding warrant for

arrest for the defendant from Durham County and indicated that she needed

to be served with the process. Counsel for the defendant indicated that he

would relay the information to his client.

      10.     More than three weeks later, on August 30, 2018, Bullock was

served with the outstanding warrant for arrest on the Durham County
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Ordinance.     (See, Automated Criminal/Infractions System (“ACIS”)1 for

18CR51946 attached hereto as Ex. C). The date of the alleged offense was

March 7, 2018. The case is currently pending in Durham County District Court

and has a file number of 18CR51946. The defendant’s address is listed as 151

South Shore Drive, Supply, North Carolina. Supply is in Brunswick County,

which is in the Eastern District of North Carolina.

      11.    On September 9 and 10, 2018, Special Assistant United States

Attorney K. P. Kennedy Gates contacted the USPO. She was informed that

Bullock does send an email to the office when she goes to Colorado. Bullock

has also sent emails about travel to Florida, Illinois, and Washington to attend

her son’s competitions. The USPO has not been informed about any other

travel outside of the Middle District of North Carolina or an address change.

The listed address with the USPO is 1737 Allen Jarrett Drive, Mebane, North

Carolina.




1“Created and maintained by the North Carolina Administrative Office of the
Courts (NCAOC), the Automated Criminal/Infractions System (ACIS) provides
the superior and district courts in North Carolina with accurate and timely
criminal and infraction case information.” ACIS Citizen’s Guide, p. 5,
http://www.nccourts.org/Training/Documents/ACIS_Inquiry_RG.pdf,         last
visited on Sept. 5, 2018. ACIS has been maintained for more than 30 years
and “interfaces with several in-house systems, including the North Carolina
Warrant Repository System (NCAWARE)…” and also interfaces with outside
agencies, “including the Department of Motor Vehicles (DMV), the State
Bureau of Investigation (SBI), and the Department of Correction (DOC).” Id.
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      12.   Upon information and belief, the defendant has contacted at least

one witness in the above captioned matter either directly or indirectly, not

through an attorney intermediary.

      13.   Upon information and belief, the Government contends Bullock is

violating the above listed conditions of release in paragraph two. Furthermore,

the defendant has been indicted on additional charges not part of the original

investigation. Therefore, the Government moves this Court to amend Bullock’s

conditions of release to include the following additional conditions:

            a.    The defendant must submit to supervision by and report for

supervision to the United States Probation Office.

            b.    The defendant must avoid all contact, directly or indirectly,

with any person who is or may be a victim or witness in the investigation or

prosecution.

            c.    The defendant must not use or unlawfully possess a narcotic

drug or other controlled substances defined in 21 U.S.C. § 802, unless

prescribed by a licensed medical practitioner.

            d.    The defendant must submit to testing for a prohibited

substance if required by the pretrial services office or supervising officer.

Testing may be used with random frequency and may include urine testing,

the wearing of a sweat patch, a remote alcohol testing system, and/or any form

of prohibited substance screening or testing. The defendant must not obstruct,


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attempt to obstruct, or tamper with the efficiency and accuracy of prohibited

substance screening or testing.

            e.    The defendant must report as soon as possible, to the

pretrial services or supervising officer, every contact with law enforcement

personnel, including arrests, questioning, or traffic stops.

            f.    Any other condition the Court deems necessary.

      This the 12th day of September, 2018.

                                     Respectfully submitted,

                                     MATTHEW G.T. MARTIN
                                     United States Attorney



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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 12, 2018, the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to the following:


Paul Moore Dubbeling, Esq.



                                      Respectfully submitted,

                                      MATTHEW G.T. MARTIN
                                      UNITED STATES ATTORNEY



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